




















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-546-13






WELDON BRIDGES, Appellant



v.



THE STATE OF TEXAS






ON DISCRETIONARY REVIEW ON THE COURT'S OWN MOTION


FROM THE SIXTH COURT OF APPEALS


ANGELINA COUNTY






	Meyers, J., delivered the opinion for a unanimous Court.


O P I N I O N 




	Appellant was convicted of aggravated sexual assault of a child.  He filed a post-conviction motion for DNA testing, which the trial court denied.  The Court of Appeals
dismissed Appellant's appeal due to his failure to timely file an appellate brief.  Bridges v.
State, No. 06-12-00109-CR, 2013 Tex. App. LEXIS 3211 (Tex. App.--Texarkana March 27,
2013) (not designated for publication).

	On September 11, 2013, we granted review on our motion of the following question:
"Does Rule 38.8(b) of the Texas Rules of Appellate Procedure prevent an appellate court
from dismissing a pro se criminal appellant's appeal due to the failure to timely file a brief?" 
The parties subsequently filed a joint motion to render judgment on October 16, 2013.  In this
motion, the parties state that they are in agreement that, under Rule 38.8(b), Appellant's
failure to timely file a brief did not authorize the Court of Appeals to dismiss the appeal.  See 
Schindley v. State, No. PD-0437-09, 2009 Tex. Crim. App. Unpub. LEXIS 344 (Tex. Crim.
App. May 6, 2009) (not designated for publication).

	Because of the agreement of the parties, we shall not decide the issue on which we
granted review.  Therefore, we vacate the judgment of the Court of Appeals and remand this
case to that court for proceedings consistent with this opinion. 



Delivered: November 20, 2013


Do Not Publish


